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                    Exhibit 2
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                        Electronically FILED by Superior Court of California, County ofRiverside on 01/1112023 05:1OPM
          Ca se Number CVRl2300155 0000045360903 • Marita C. Ford, Interim Executive Officer/Clerk of the Court By Carmen Mundo, Clerk



     1   DOUGLAS HAN (SBN 232858)
         SHUNT TATAVOS-GHARAJEH (SBN 272164)
     2   WILLIAM WILKINSON (SBN 346777)
         JUSTICE LAW CORPORATION
     3   751 N. Fair Oaks Avenue, Suite 101
     4   Pasadena, California 91103
         Telephone: (818) 230-7502
     5   Facsimile: (818) 230-7259

     6   Attorneys for Plaintiff
     7

     8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

     9                                        FOR THE COUNTY OF RIVERSIDE

    10   ANJELICA MENDOZA, individually, and on                              Case No.: CV RI 23 0 01 5 5
         behalf of other members of the general public
    11
         similarly situated;                                                 CLASS ACTION COMPLAINT FOR
    12                                                                       DAMAGES
                            Plaintiff,
    13                                                                      .( 1) Violation of California Labor Code
                  V.                                                              §§ 510and1198 (Unpaid Overtime);
    14
                                                                             (2) Violation of California Labor Code
    15   RDO EQUIPMENT CO., a Delaware                                            §§ 226.7 and 512(a) (Unpaid Meal
         corporation; and DOES 1 through 100, .                                   Period Premiums);
    16   inclusive;                                                          (3) Violation of California Labor Code
                                                                                  § 226. 7 (Unpaid Rest Period
    17                      Defendants.                                           Premiums);
                                                                             (4) Violation of California Labor Code
    18
                                                                                  §§ 1194 and 1197 (Unpaid
    19                                                                            Minimum Wages);
                                                                             (5) Violation of California Labor Code
    20                                                                            §§ 201 and 202 (Final Wages Not
                                                                                  Timely Paid);
    21                                                                       (6) Violation of California Labor Code
                                                                                  § 226(a) (Non-Compliant Wage
    22
                                                                                  Statements);
    23                                                                       (7) Violation of California Labor Code
                                                                                  §§ 2800 and 2802 (Unreimbursed
    24                                                                            Business Expenses);
                                                                             (8) Violation of California Business &
    25                                                                            Professions Code § 17200, et seq.
    26
                                                                              DEMAND FOR JURY TRIAL
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                                                  CLASS ACTION COMPLAINT FOR DAMAGES
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     1          COMES NOW, Plaintiff ANJELICA MENDOZA ("Plaintiff'), individually, and on

     2   behalf of other members of the general public similarly situated, and alleges as follows:

     3                                   JURISDICTION AND VENUE

     4          1.      This class action is brought pursuant to the California Code of Civil Procedure

     5   section 3 82. The monetary damages and restitution sought by Plaintiff exceeds the minimal

     6   jurisdiction limits of the Superior Court and will be established according to proof at trial. The

     7   "amount in controversy" for the named Plaintiff, including claims for compensatory damages,

     8   restitution, penalties, wages, premium pay, and pro rata share of attorneys' fees, is less than

     9   seventy-five thousand dollars ($75,000).

                2.      This Court has jurisdiction over this action pursuant to the California

    11   Constitution, Article VI, Section 10, which grants the superior court "original jurisdiction in all

    12   other causes" except those given by statute to other courts. The statutes under which this

    13   action is brought do not specify any other basis for jurisdiction.

    14          3.      This Court has jurisdiction over Defendants because, upon information and

    15   belief, Defendants are 'citizens of California, have sufficient minimum contact~ in California,

    16   or otherwise intentionally avail themselves of the California market so as to render the exercise

    17   of jurisdiction over them by the California courts consistent with traditional notions of fair play

    18   and substantial justice.

    19          4.      Venue is proper in this Court because, upon information and belief, Defendants

    20   maintain offices, have agents, and/or transact business in the State of California, including the

    21   County of Riverside. The majority of the acts and omissions alleged herein relating to Plaintiff

    22   took place in the State of California, County of Riverside. Defendants employed Plaintiff within

    23   the State of California, County of Riverside.

    24                                               PARTIES

    25          5.      Plaintiff ANJELICA MENDOZA 1s an individual residing m the State of

    26   California, County of Riverside.

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                                        CLASS ACTION COMPLAINT FOR DAMAGES
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     1          6.      Defendant RDO EQUIPMENT CO., at all times herein mentioned, was and is,

     2   upon information and belief, a Delaware corporation, and at all times herein mentioned, was

     3   and is, an employer whose employees are engaged throughout the State of California,

     4   including the County of Riverside.

     5          7.      At all relevant times, Defendant RDO EQUIPMENT CO. was the "employer" of

     6   Plaintiff within the meaning of all applicable California laws and statutes.

     7          8.      At all times herein relevant, Defendants RDO EQUIPMENT CO. and DOES 1

     8   through 100, and each of them, were the agents, partners, joint venturers, joint employers,

     9   representatives, servants, employees, successors-in-interest, co-conspirators and assigns, each

    10   of the other, and at all times relevant hereto were acting within the course and scope of their

    11   authority as such agents, partners, joint venturers, joint employers, representatives, servants,

    12   employees, successors, co-conspirators and assigns, and all acts or omissions alleged herein

    13   were duly committed with the ratification, knowledge, permission, encouragement,

    14   authorization, and consent of each defendant designated herein.

    15          9.      The true names and capacities, whether corporate, associate, individual or

    16   otherwise, of Defendants DOES 1 through 100, inclusive, are unknown to Plaintiff, who sues

    17   said defendants by such fictitious names. Plaintiff is informed and believes, and based on that

    18   information and belief alleges, that each of the Defendants designated as a DOE is legally

    19   responsible for the events and happenings referred to in this Complaint, and unlawfully caused

    20   the injuries and damages to Plaintiff and the other class members as alieged in this Complaint.

    21   Plaintiff will seek leave of court to amend this Complaint to show the true names and

    22   capacities when the same have been ascertained.

    23          10.     Defendants RDO EQUIPMENT CO. and DOES 1 through 100 will hereinafter

    24   collectively be referred to as "Defendants."

    25          11.     Plaintiff further alleges that Defendants directly or indirectly controlled or

    26   affected the working conditions, wages, working hours, and conditions of employment of

    27   Plaintiff and the other class members so as to make each of said Defendants employers and

    28   employers liable under the statutory provisions set forth herein ..
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     1                                    CLASS ACTION ALLEGATIONS

     2           12.       Plaintiff brings this action individually and on behalf of all other members of the

     3   general public similarly situated, and, thus, seeks class certification under Code of Civil

     4   Procedure section 3 82.

     5           13.       The proposed class is defined as follows:

     6                     All current and former hourly-paid or non-exempt employees (whether hired

     7                     directly or through a staffing agency) of Defendants within the State of

     8                     California at any time during the period from four years preceding the filing of

     9                     this Complaint to final judgment.

    10           14.       Plaintiff reserves the right to establish subclasses as appropriate.

    11           15.       The class is ascertainable and there is a well-defined community of interest in

    12   the litigation:

    13                     a.     Numerosity: The class members are so numerous that joinder of all class

    14                            members is impracticable. The membership of the entire class is

    15                            unknown to Plaintiff at this time; however, the class is estimated to be

    16                            greater than fifty (50) individuals and the identity of such membership is

    17                            readily ascertainable by inspection of Defendants' employment records .

    18                     b.     Typicality: Plaintiffs claims are typical of all other class members'

    19                            claims as demonstrated herein. Plaintiff will fairly and adequately

    20                            protect the interests of the other class members with whom Plaintiff has a

    21                            well-defined community of interest.

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                                           CLASS ACTION COMPLAINT FOR DAMAGES
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     1                 C.      Adequacy: Plaintiff will fairly and adequately protect the interests of

     2                         each class member, with whom Plaintiff has a well-defined community

     3                         of interest and typicality of claims, as demonstrated herein. Plaintiff has

     4                         no interest that is antagonistic to the other class members. Plaintiff's

     5                         attorneys, the proposed class counsel, are versed in the rules governing

     6                         class action discovery, certification, and settlement. Plaintiff has

     7                         incurred, and during the pendency of this action will continue to incur,

     8                         costs and attorneys' fees, that have been, are, and will be necessarily

     9                         expended for the prosecution of this action for the substantial benefit of

    10                         each class member.

    11                 d.      Superiority: A class action is superior to other available methods for the

    12                         fair and efficient adjudication of this litigation because individual joinder

    13                         of all class members is impractical.

    14                 e.     ~Public Policy Considerations: Certification of this lawsuit as a class

    15                         action will advance public policy objectives.     Employers of this great

    16                         state violate employment and labor laws every day. Current employees

    17                         are often afraid to assert their rights out of fear of direct or indirect

    18                         retaliation. However, class actions provide the class members who are

    19                         not named in the complaint anonymity that allows for the vindication of

    20                         their rights.

    21          16.    There are common questions of law and fact as to the class members that

    22   predominate over questions affecting only individual members. The following common

    23   questions oflaw or fact, among others, exist as to the members of the class:

    24                 a.      Whether Defendants' failure to pay wages, without abatement or

    25                         reduction, in accordance with the California Labor Code, was willful;

    26                 b.      Whether Defendants failed to pay their hourly-paid or non-exempt

    27                         employees within the State of California for all hours worked, missed

    28                         meal periods and rest breaks in violation of California law;
                                                        5


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     1             c.    Whether Defendants required Plaintiff and the other class members to
     2                   work over eight (8) hours per day and/or over forty (40) hours per week
     3                   and failed to pay the legally required overtime compensation to Plaintiff
     4                   ·and the other class members;

     5             d.    Whether Defendants properly calculated the regular rate for Plaintiff and
     6                   the other class members to worked overtime and earned incentive pay;
     7             e.    Whether Defendants deprived Plaintiff and the other class members of

     8                   meal and/or rest periods or required Plaintiff and the other class

     9                   members to work during meal and/or rest periods without compensation;

    10             f.    Whether Defendants failed to pay minimum wages to Plaintiff and the

    11                   other class members for all hours worked;
    12             g.    Whether Defendants failed to pay all wages due to Plaintiff and the other

    13                   class members within the required time upon their discharge or
    14                   resignation;
    15             h.    Whether Defendants failed to timely pay all wages due to Plaintiff and
    16                  · the other class members during their employment;

    17             i.    Whether Defendants complied with wage reporting as required by the
    18                   California Labor Code, including, inter alia, section 226;
    19             j.    Whether Defendants failed to reimburse Plaintiff and the other class
    20                   members for necessary business-related expenses and costs;
    21             k.    Whether Defendants' conduct was willful or reckless;
    22             I.    Whether Defendants engaged in unfair business practices in violation of
    23                   California Business & Professions Code section 17200, et seq.;
    24             m.    The appropriate amount of damages, restitution, and/or monetary
    25                   penalties resulting from Defendants' violation of California law; and

    26             n.    Whether Plaintiff and the other _ class members are entitled to

    27                   compensatory damages pursuant to the California Labor Code.
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     1                                   GENERAL ALLEGATIONS

     2          17.     During the relevant time period set forth herein, Defendants employed Plaintiff

     3   and other persons as hourly-paid or non-exempt employees within the State of California.

     4          18.     Defendants, jointly and severally, employed Plaintiff as an hourly-paid non-

     5   exempt employee during the relevant time period in the State of California, County of

     6   Riverside.

     7          19.     Defendants had the authority to hire and terminate Plaintiff and other class

     8   members; to set work rules and conditions governing Plaintiff's and other class members'

     9   employment; and to supervise their daily employment activities.

    10          20.     Defendants exercised sufficient authority over the terms and conditions of

    11   Plaintiff and other class members' employment for them to be joint employers of Plaintiff and

    12   the other class members.

    13          21.     Defendants directly hired and paid wages and benefits to Plaintiff and other

    14   class members.

    15          22.     Defendants continue to employ hourly-paid or non-exempt employees within the

    16   State of California.

    17          23 .    Plaintiff and other class members worked over eight (8) hours in a day, and/or

    18   forty (40) hours in a week during their employment with Defendants.

    19          24.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

    20   engaged in a pattern and practice of wage abuse against their hourly-paid or non-exempt

    21   employees within the State of California. This scheme involved, inter alia, failing to pay them

    22   for all hours worked, missed meal periods, and missed rest breaks in violation of California

    23   law.

    24          25.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

    25   knew or should have known that Plaintiff and other class members were entitled to receive

    26   certain wages for overtime compensation and that Plaintiff and other class members were not

    27   receiving wages for overtime compensation.

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     1             26.   Plaintiff is informed and believes, and based thereon alleges, that Defendants

     2   failed to provide Plaintiff and other class members the required rest and meal periods during

     3   the relevant time period as required under the Industrial Welfare Commission Wage Orders

     4   and thus they are entitled to any and all applicable penalties.

     5             27.   Plaintiff is informed and believes, and based thereon alleges, that Defendants

     6   knew or should have known that Plaintiff and other class members were entitled to receive all

     7   timely and complete meal periods or payment of one additional hour of pay at Plaintiffs and

     8   the other class members' regular rate of pay when a meal period was missed, late or

     9   interrupt~d, and that Plaintiff and other class members did not receive all timely and proper

    10   meal periods or payment of one additional hour of pay at their regular rate of pay when a meal

    11   period was missed.

    12             28.   Plaintiff is informed and believes, and based thereon alleges, that Defendants

    13   knew or should have known that Plaintiff and other class members were entitled to receive all

    14   timely rest periods without interruption or payment of one additional hour of pay at Plaintiff

    15   and the other class members' regular rate of pay when a rest period was missed, late or

    16   interrupted, and that Plaintiff and other class members did not receive all rest periods or

    17   payment of one additional hour of pay at their regular rate of pay when a rest period was

    18   missed.

    19          29.      Plaintiff is informed and believes, and based thereon alleges, that Defendants

    20   knew or should have known that Plaintiff and other class members were entitled to receive at

    21   least minimum wages for compensation and that Plaintiff and other class members were not

    22   receiving at least minimum wages for all hours worked.

    23          30.      Plaintiff is informed and believes, and based thereon alleges, that Defendants

    24   knew or should have known that Plaintiff and other class members were entitled to receive the

    25   wages owed to them upon discharge or resignation, including overtime and minimum wages

    26   and meal and rest period premiums, and that Plaintiff and other class members did not, in fact,

    27   receive such wages owed to them at the time of their discharge or resignation.

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                                        CLASS ACTION COMPLAINT FOR DAMAGES
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      1          31.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

     2    knew or should have known that Plaintiff and other class members were entitled to receive
      3   complete and accurate wage statements in accordance with California law, but, in fact, Plaintiff
     4    and other class members did not receive complete and accurate wage statements from

      5   Defendants. The deficiencies included, inter alia, the failure to include the total number of

      6   hours worked by Plaintiff and other class members.

      7          32.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

      8   knew or should have known that Plaintiff and the other class members were entitled to

      9   reimbursement for necessary business-related expenses.

     10          33.     Plaintiff is .informed and believes, and based thereon alleges, that Defendants

     11   knew or should have known that Defendants had to keep complete and accurate payroll records

     12   for Plaintiff and other class members in accordance with California law, but, in fact, did not

     13   keep complete and accurate payroll records for Plaintiff and other class members.

     14          34.     Plaintiff is informed and believes, ana based thereon alleges, that Defendants

     15   knew or should have known that they had a duty to compensate Plaintiff and other class

     16   members pursuant to California law, and that Defendants had the financial ability to pay such

     17   compensation, but willfully, knowingly, and intentionally failed to do so, and falsely

     18   represented to Plaintiff and other class members that they were -properly denied wages, all in

     19   order to increase Defendants' profits.

    20           35.     As a pattern and practice, during the relevant time period set forth herein,

    21    Defendants failed to pay overtime wages to Plaintiff and other class members for all hours

    22    worked. Plaintiff and other class members were required to work more than eight (8) hours per

    23    day and/or forty (40) hours per week without overtime compensation.

    24           36.     As a pattern and practice, during the relevant time period set forth herein,

    25    Defendants failed to provide the requisite uninterrupted and timely meal and rest periods to

    26    Plaintiff and other class members.

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                                        CLASS ACTION COMPLAINT FOR DAMAGES
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      1          37.      As a pattern and practice, during the relevant time period set forth herein,
      2   Defendants failed to pay· Plaintiff and other class members at least minimum wages for all
      3   hours worked.
      4          38.      As a pattern and practice, during the relevant time period set forth herein,

      5   Defendants failed to pay Plaintiff and other class members the wages owed to them upon
      6   discharge or resignation.

      7          39.      As a pattern and practice, during the relevant time period set forth herein,
      8   Defendants failed to provide complete or accurate wage statements to Plaintiff and other class

      9   members.

                 40.      As a pattern and practice, during the relevant time period set forth herein,

     11   Defendants failed to keep complete or accurate payroll records for Plaintiff and other class

     12   members.

     13          41.      As a pattern and practice, during the relevant time period set forth herein,

     14   Defendants failed to properly compensate Plaintiff and other class members pursuant to

     15   California law in order to increase Defendants' profits.

     16           42.     California Labor Code section 218 states that nothing in Article 1 of the Labor

     17   Code shall limit the right of any wage claimant to "sue directly ... for any wages or penalty

     18   due to him [or her] under this article."

     19                                    FIRST CAUSE OF ACTION

     20                       (Violation of California Labor Code§§ 510 and 1198)

     21                   (Against RDO EQUIPMENT CO. and DOES 1 through 100)

     22           43.     Plaintiff incorporates by reference the allegations contained in Paragraphs 1

     23   through 42, and each and every part thereof with the same force and effect as though fully set

     24   forth herein.

     25   III

     26   III

     27   III

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                                         CLASS ACTION COMPLAINT FOR DAMAGES
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      1            44.   California Labor Code section 1198 and the applicable Industrial Welfare

      2   Commission ("IWC") Wage Order provide that it is unlawful to employ persons without

      3   compensating them at a rate of pay either time-and-one-half or two-times that person's regular

      4   rate of pay, depending on the number of hours worked by the person on a daily or weekly

      5   basis.

      6            45.   Specifically, the applicable IWC Wage Order provides that Defendants are and

      7   were required to pay Plaintiff and other class members employed by Defendants, who

      8   work( ed) more than eight (8) hours in a day or more than forty (40) hours in a workweek, at

      9   the rate of time-and-one-half for all hours worked in excess of eight (8) hours in a day or more

     10   than forty (40) hours in a workweek.

     11            46.   The applicable IWC Wage Order further provides that Defendants are and were

     12~ required to pay Plaintiff and other class members overtime compensation at a rate of two times

     13   their regular rate of pay for all hours worked in excess of twelve (12) hours in a day.

     14            47.   California Labor Code section 510 codifies the right to overtime compensation

     15   at one-and-one-half times the regular hourly rate for hours worked in excess of eight (8) hours

     16   in a day or forty (40) hours in a week or for the first eight (8) hours worked on the seventh day

     17   of work, and overtime compensation at twice the regular hourly rate for hours worked in

     18   excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the seventh day

     19   ofwork.

     20            48.   During the relevant time period set forth herein, Plai_ntiff and other class

     21   members worked in excess of eight (8) hours in a day, and/or in excess of forty (40) hours in a

     22   week.

     23            49.   As a pattern and practice, during the relevant time period set forth herein,

     24   Defendants intentionally and willfully failed to pay overtime wages owed to Plaintiff and other

     25   class members (but not all).

     26   III

     27   III

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                                         CLASS ACTION COMPLAINT FOR DAMAGES
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      1           50.     Defendants' pattern and practice of failing to pay Plaintiff and other class

     2    members the unpaid balance of overtime compensation, as required by California laws,
     3    violates the provisions of California Labor Code sections 510 and 1198, and is therefore
     4    unlawful.
      5           51.     Pursuant to California Labor Code section 1194, Plaintiff and other class

      6   members are entitled to recover unpaid overtime compensation, as well as interest, costs, and

      7   attorneys' fees.
      8                                  SECOND CAUSE OF ACTION

      9                       (Violation of California Labor Code§§ 226.7 and 512(a))

     10                      (Against RDO EQUIPMENT CO. and DOES 1 through 100)

     11           52.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

     12   through 51, and each and every part thereof with the same force and effect as though fully set

     13   forth herein.

     14          53.      During the relevant time period set forth herein, the IWC Order and California

     15   Labor Code sections 226.7 and 512(a) were applicable to Plaintiffs and other class members'

     16   employment by Defendants.

     17          54.      During the relevant time period set forth herein, California Labor Code section

     18   226.7 provides that no employer shall require an employee to work during any meal or rest

     19   period mandated by an applicable order of the California IWC.

    20           55.      During the relevant time period set forth herein, the applicable IWC Wage

    21    Order and California Labor Code section 512(a) provide that an employer may not require,

    22    cause or permit an employee to work for a work period of more than five (5) hours per day

    23    without providing the employee with a meal period of not less than thirty (30) minutes, except

    24    that if the total work period per day of the employee is no more than six (6) hours, the meal

    25    period may be waived by mutual consent of both the employer and employee.

    26    III

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                                         CLASS ACTION COMPLAINT FOR DAMAGES
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      1             56.   During the relevant time period set forth herein, the applicable IWC Wage

      2   Order and California Labor Code section 512(a) further provide that an employer may not
      3   require, cause, or permit an employee to work for a work period of more than ten (10) hours
      4   per day without providing the employee with a second uninterrupted meal period of not less
      5   than thirty (30) minutes, except that if the total hours worked is no more than twelve (12)

      6   hours, the second meal period may be waived by mutual consent of the employer and the
      7   employee only if the first meal period was not waived.

      8             57.   As a pattern and practice, during the relevant time period set forth herein,

      9   Plaintiff and other class members (but not all) who were scheduled to work for a period of time

     10   no longer than six (6) hours, and who did not waive their legally-mandated meal periods by

     11   mutual consent, were required to work for periods longer than five (5) hours without an

     12   uninterrupted meal period of not less than thirty (30) minutes and/or without a rest period.

     13             58.   As a pattern and practice, during the relevant time period set forth herein,

     14   Plaintiff and other class members (but not all) who were scheduled to work for a period of time
     15   no longer than twelve (12) hours, and who did not waive their legally-mandated meal periods

     16   by mutual consent, were required to work for periods longer than ten (10) hours without an

     17   uninterrupted meal period of not less than thirty (30) minutes and/or without a rest period.

     18             59.   As a pattern and practice, during the relevant time period set forth herein,

     19   Plaintiff and other class members (but not all) who were scheduled to work for a period of time

     20   in excess of six (6) hours were required to work for periods longer than five (5) hours without

     21   an uninterrupted meal period of not less than thirty (30) minutes and/or without a rest period.

    22              60.   As a pattern and practice, during the. relevant time period set forth herein,

    23    Plaintiff and other class members (but not all) who were scheduled to work for a period of time

    24    in excess of twelve (12) hours were required to work for periods longer than ten (10) hours

    25    without an uninterrupted meal period of not less than thirty (30) minutes and/or without a rest

    26    period.

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                                        CLASS ACTION COMPLAINT FOR DAMAGES
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      1          61.      As a pattern and practice, during the relevant time period set forth herein,
     2    Defendants intentionally and willfully required Plaintiff and other class members (but not all)
     3    to work during meal periods and failed to compensate Plaintiff and the other class members
     4    (but not all) the full meal period premium for work performed during meal periods.
      5          62.      As a pattern and practice, during the relevant time period set forth herein,

      6   Defendants failed to pay Plaintiff and other class members (but not all) the full meal period

      7   premium due pursuant to California Labor Code section 226. 7.

      8          63.      Defendants' conduct violates applicable IWC Wage Order and California Labor

      9   Code sections 226.7 and 512(a).

     10          64.      Pursuant to the applicable IWC Wage Order and California Labor Code section

     11   226. 7(b ), Plaintiff and other class members are entitled to recover from Defendants one

     12   additional hour of pay at the employee's regular rate of compensation for each workday that

     13   the meal or rest period is not provided.

     14                                    THIRD CAUSE OF ACTION

     15                            (Violation of California Labor Code.§ 226. 7)

     16                   (Against RDO EQUIPMENT CO. and DOES 1 through 100)

     17          65.      Plaintiff incorporates by reference the allegations contained in paragraphs 1

     18   through 64, and each and every part thereof with the same force and effect as though fully set

     19   forth herein.

    20           66.      During the relevant time period set forth herein, the applicable IWC Wage

    21    Order and California Labor Code section 226.7 were applicable to Plaintiff's and other class

    22    members' employment by Defendants.

    23           67.      During the relevant time period set forth herein, California Labor Code section

    24    226. 7 provides that no employer shall require an employee to work during any rest period

    25    mandated by an applicable order of the California IWC.

    26    III

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      1          68.     During the relevant time period set forth herein, the applicable IWC Wage

      2   Order provides that "[ e]very employer shall authorize and permit all employees to take rest

      3   periods, which insofar as practicable shall be in the middle of each work period" and that the

      4   "rest period time shall be based on the total hours worked daily at the rate of ten (10) minutes

      5   net rest time per four (4) hours or major fraction thereof' unless the total daily work time is

      6   less than three and one-half (3 ½) hours .

      7          69.     As a pattern and practice, during the relevant time period set forth herein,

      8   Defendants required Plaintiff and other class members (but not all) to work four (4) or more

      9   hours without authorizing or permitting a ten (10) minute rest period per each four (4) hour

     10   period worked.

     11          70.     As a pattern and practice, during the relevant time period set forth herein,
                                                    I
     12   Defendants willfully required Plaintiff and other class members (but not all) to work during

     13   rest periods and failed to pay Plaintiff and the other class members the full rest period premium

     14   for work performed during rest periods.

     15          71.     As a pattern and practice, during the relevant time period set forth herein,

     16   Defendants failed to pay Plaintiff and the other class members (but not all) the full rest period

     17   premium due pursuant to California Labor Code section 226.7

     18          72.     Defendants' conduct violates applicable IWC Wage Orders and California

     19   Labor Code section 226. 7.

     20          73.     Pursuant to the applicable IWC Wage Orders and California Labor Code section

     21   226.7(b), Plaintiff and the other class members are entitled to recover from Defendants one

     22   additional hour of pay at the employees' regular hourly rate of compensation for each workday

     23   that the rest period was not provided.

     24   III

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      1                                  FOURTH CAUSE OF ACTION

      2                      (Violation of California Labor Code §§ 1194 and 1197)

      3                   (Against RDO EQUIPMENT CO. and DOES 1 through 100)
      4          74.      Plaintiff incorporates by reference the allegations contained in paragraphs 1

      5   through 73 and each and every part thereof with the same force and effect as though fully set

      6   forth herein.

      7          75.      During the relevant time period set forth herein, California Labor Code sections

      8   1194 and 1197 provide that the minimum wage to be paid to employees, and the payment of a

      9   lesser wage than the minimum so fixed, is unlawful.

     10          76.      As a pattern and practice, during the relevant time period set forth herein,

     11   Defendants failed to pay minimum wages to Plaintiff and other class members (but not all) as

     12   required, pursuant to California Labor Code sections 1194 and 1197.

     13          77.      Defendants' failure to pay Plaintiff and other class members the minimum wage

     14   as required violates California Labor Code sections 1194 and 1197. Pursuant to those sections,

     15   Plaintiff and other class members are entitled to recover the unpaid balance of their minimum

     16   wage compensation as well as interest, costs, and attorney's fees, and liquidated damages in an

     17   amount equal to the wages unlawfully unpaid and interest thereon.

     18          78.      Pursuant to California Labor Code section 1194.2, Plaintiff and other class

     19   members are entitled to recover liquidated damages in an amount equal to the wages

     20   unlawfully unpaid and interest thereon.

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     22   III

     23   III

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      1                                    FIFTH CAUSE OF ACTION

      2                        (Violation of California Labor Code §§ 201 and 202)

      3                   (Against RDO EQUIPMENT CO. and DOES 1 through 100)

      4           79.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

      5   through 78, and each and every part thereof with the same force and effect as though fully set

      6   forth herein.

      7           80.     During the relevant time period set forth herein, California Labor Code sections

      8   201 and 202 provide that if an employer discharges an employee, the wages earned and unpaid

      9   at the time of discharge are due and payable immediately, and if an employee quits his or her

     10   employment, his of her wages shall become due and payable not later than seventy-two (72)

     11   hours thereafter, unless the employee has given seventy-two (72) hours notice of his or her

     12   intention to quit, in which case the employee is entitled to his or her wages at the time of

     13   quitting.

     14           81.     As a pattern and practice, during the relevant time period set forth herein,

     15   Defendants intentionally and willfully failed to pay Plaintiff and other class members (but not

     16   all) who are no longer employed by Defendants their wages, earned and unpaid, within

     17   seventy-two (72) hours of their leaving Defendants' employ.

     18           82.     Defendants' pattern and practice of failing to pay· Plaintiff and other class

     19   members who are no longer employed by Defendants their wages, earned and unpaid, within

     20   seventy-two (72) hours of their leaving Defendants' employ, is in violation of California Labor

     21   Code sections 201 and 202.

     22           83.     California Labor Code section 203 provides that if an employer willfully fails to

     23   pay wages owed, in accordance with sections 201 and 202, then the wages of the employee

     24   shall continue as a penalty from the due date thereof at the same rate until paid or until an

     25   action is commenced; but the wages shall not continue for more than thirty (30) days.

     26           84.     Plaintiff and other class members are entitled to recover from Defendants the

     27   statutory penalty wages for each day they were not paid, up to the thirty (30) day maximum as

     28   provided by Labor Code section 203.
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      1                                     SIXTH CAUSE OF ACTION

      2                             (Violation of California Labor Code § 226(a))
      3                     (Against RDO EQUIPMENT CO. and DOES 1 through 100)
      4              85.   Plaintiff incorporates by reference the allegations contained in paragraphs 1

      5    through 84, and each and every part thereof with the same force and effect as though fully set

      6    forth herein.

      7              86.   During the relevant time period set forth herein, California Labor Code section

      8    226(a) provides that every employer shall furnish each of his or her employees an accurate

      9    itemized statement in writing showing (1) gross wages earned, (2) total hours worked by the

     10    employee, (3) the number of piece-rate units earned and any applicable piece rate if the
    . 11   employee is paid on a piece-rate basis, (4) all deductions, provided that all deductions made on

     12    written orders of the employee may be aggregated and shown as one item, (5) net wages

     13    earned, (6) the inclusive dates of the period for which the employee is paid, (7) the name of the

     14    employee and his or her social security number, (8) the name and address of the legal entity

     15    that is the employer, and (9) all applicable hourly rates in effect during the pay period and the

     16    corresponding number of hours worked at each hourly rate by the employee. The deductions

     17    made from payments of wages shall be recorded in ink or other indelible form, properly dated,

     18    showing the month, day, and year, and a copy of the statement or a record of the deductions

     19    shall be kept on file by the employer for at least three years at the place of employment or at a

     20    central location within the State of California.

     21              87.   As a pattern and practice, Defendants have intentionally and willfully failed to

     22    provide Plaintiff and other class members (but not all) with complete and accurate wage

     23    statements. The deficiencies include but are not limited to: the failure to include the total

     24    number of hours worked by Plaintiff and other class members.

     25              88.   As a result of Defendants' violation of California Labor Code section 226(a),

     26    Plaintiff and other class members have suffered injury and damage to their statutorily protected

     27    rights.

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      1           89.     More specifically, Plaintiff and other class members have been injured by

      2   Defendants' intentional and willful violation of California Labor Code section 226(a) because
      3   they were denied both their legal right to receive, and their protected interest in receiving,
      4   accurate and itemized wage statements pursuant to California Labor Code section 226(a).
      5           90.     Plaintiff and other class members are entitled to recover from Defendants the

      6   greater of their actual damages caused by Defendants' failure to comply with California Labor

      7   Code section 226(a), or an aggregate penalty not exceeding four thousand dollars per

      8   employee.

      9           91.     Plaintiff and other class members are also entitled to injunctive relief to ensure

     10   compliance with this section, pursuant to California Labor Code section 226(g).

     11                                    SEVENTH CAUSE OF ACTION

     12                       (Violation of California Labor Code §§ 2800 and 2802)

     13                    (Against RDO EQUIPMENT CO. and DOES 1 through 100)

     14           92. , Plaintiff incorporates by reference the allegations contained in paragraphs 1
     15   through 91, and each and every part thereof with the same force and effect as though fully set
     16   forth herein.

     17           93.     Pursuant to California Labor Code sections 2800 and 2802, an employer must

     18   reimburse its employee for all necessary expenditures incurred by the employee in direct

     19   consequence of the discharge of his or her job duties or in direct consequence of his or her

    20    obedience to the directions of the employer.

    21            94.     Defendants have intentionally and willfully failed to reimburse Plaintiff and other

    22    class members (but not all) for all necessary business-related expenses and costs. Plaintiff and

    23    other class members are entitled to recover from Defendants their business-related expenses and

    24    costs incurred during the course and scope of their employment, plus interest accrued from the

    25    date on which the employee incurred the necessary expenditures at the same rate as judgments in
    26    civil actions in the State of California.

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      1                                   EIGHTH CAUSE OF ACTION

      2                (Violation of California Business & Professions Code § 17200, et seq.)

      3                     (Against RDO EQUIPMENT CO. and DOES 1 through 100)

      4          95.      · Plaintiff incorporates by reference the allegations contained in paragraphs 1

      5   through 94, and each and every part thereof with the same force and effect as though fully set

      6   forth herein.

      7          96.       Defendants' conduct, as alleged herein, has been, and continues to be unfair,

      8   unlawful and harmful to Plaintiff, other class members, to the general public, and Defendants'

      9   competitors.     Accordingly, Plaintiff seeks to enforce important rights affecting the public

     10   interest within the meaning of Code of Civil Procedure section 1021.5.

     11          97.       Defendants' activities as alleged herein are violations of California iaw, and

     12   constitute unlawful business acts and practices in violation of California Business &

     13   Professions Code section 17200, et seq.

     14          98.       A violation of California Business· & Professions Code section 17200, et seq.

     15   may be predicated on the violation of any state or federal law. In this instant case, Defendants'

     16   pattern and practice of requiring Plaintiff and other class members work overtime hours

     17   without paying them proper compensation violate California Labor Code sections 510 and

     18   1198. Additionally, Defendants' pattern and practice of requiring Plaintiff and other class

     19   members, to work through their meal and rest periods without paying them proper

     20   compensation violate California Labor Code sections 226.7 and 512(a). Moreover, Defendants'

     21   pattern and practice of failing to timely pay wages to Plaintiff and other class members violate

     22   California Labor Code sections 201 and 202. Defendants also violated California Labor Code

     23   sections 226(a), 1194, 1197, 2800 and 2802.

     24          99.       As a result of the herein described violations of California law, Defendants

     25   unlawfully gained an unfair advantage over other businesses.

     26          100.      Plaintiff and other class members (but not all) have been personally injured by

     27   Defendants' unlawful business acts and practices as alleged herein, including but not

     28   necessarily limited to the loss of money and/or property.
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      1            101.    Pursuant to California Business & Professions Code sections 17200, et seq.,

      2    Plaintiff and other class members are entitled to restitution of the wages withheld and retained

      3    by Defendants during a period that commences four years prior to the filing of this Complaint;

      4    an award of attorneys' fees pursuant to California Code of Civil procedure section 1021.5 and

      5    other applicable laws; and an award of costs.

      6                                      DEMAND FOR JURY TRIAL

      7            Plaintiff, individually, and on behalf of other members of the general public similarly

      8    situated, requests a trial by jury.

      9·                                         PRAYER FOR RELIEF

     10            WHEREFORE, Plaintiff, individually and on behalf of all other members of the general

     11    public similarly situated, prays for relief and judgment against Defendants, jointly and

     12    severally, as follows:

     13                                            Class Certification

     14            1.      That this action be certified as a class action;

     15            2.      That Plaintiff be appointed as representative of the Class;

     16            3.      That counsel for Plaintiff be appointed as Class, Counsel; and

     17            4.      That Defendants provide to Class Counsel immediately the names and most

     18    current contact information (address, e-mail and telephone numbers) of all class members.

     19                                      As to the First Cause of Action

     20            5.      That the Court declare, adjudge and decree that Defendants violated California

     21    Labor Code sections 510 and 1198 and applicable IWC Wage Orders by willfully failing to pay

     22    all overtime wages due to Plaintiff and other class members (but not all);

     23            6.      For general unpaid wages at overtime wage rates and such general and special

     24    damages as may be appropriate;

     25            7.      For pre-judgment interest on any unpaid overtime compensation commencing

     26    from the date such amounts were due;

     27            8.      For reasonable attorneys' fees and costs of suit incurred herein pursuant to

     28    California Labor Code section 1194; and
                                                             21

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      1            9.      For such other and further relief as the court may deem just and proper.

      2                                   As to the Second Cause of Action
      3            10.     That the Court declare, adjudge and decree that Defendants violated California

      4   Labor Code sections 226.7 and 512 and applicable IWC Wage Orders by willfully failing to

      5   provide all meal periods (including second meal periods) to Plaintiff and other class members

      6   (but not all);

      7            11.     That the Court make an award to Plaintiff and the other class members of one

      8   (1) hour of pay at each employee's regular rate of compensation for each workday that a meal

      9   period was not provided;

                   12.     For all actual, consequential, and incidental losses and damages, according to

     11   proof;

     12            13.     For premium wages pursuant to California Labor Code section 226.7(b);
                                                !
     13            14.     For pre-judgment interest on any unpaid wages from the date such amounts

     14   were due;

     15            15.     For reasonable attorneys' fees and costs of suit incurred herein; and

     16            16.     For such other and further relief as the court may deem just and proper.

     17                                    As to the Third Cause of Action

     18            17.     That the Court declare, adjudge and decree that Defendants violated California

     19   Labor Code section 226.7 and applicable IWC Wage Orders by willfully failing to provide all

     20   rest periods to Plaintiff and other class members (but not all);

     21            18.     That the Court make an award to Plaintiff and the other class members of one

     22   (1) hour of pay at each employee's regular rate of compensation for each workday that a rest

     23   period was not provided;

     24            19.     For all actual, consequential, and incidental losses and damages, according to

    25    proof;

     26            20.     For premium wages pursuant to California Labor Code section 226.7(b);

     27            21.     For pre-judgment interest on any unpaid wages from the date such amounts

     28   were due; and
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      1            22.   For such other and further relief as the court may deem just and proper.

      2                                 As to the Fourth Cause of Action

      3            23.   That the Court declare, adjudge and decree that Defendants violated California
      4   Labor Code sections 1194 and 1197 by willfully failing to pay minimum wages to Plaintiff and

      5 . other class members (but not all);
      6            24.   For general unpaid wages and such general and special damages as may be

      7   appropriate;
      8            25.   For pre-judgment interest on any unpaid compensation from the date such

      9   amounts were due;

     10            26.   For reasonable attorneys' fees and costs of suit incurred herein pursuant to

     11   California Labor Code section 1194(a);

     12            27.   For liquidated damages pursuant to California Labor Code section 1194.2; and

     13            28.   For such other and further relief as the court may deem just and proper.

     14                                  As to the Fifth Cause of Action

     15            29.   That the Court declare, adjudge and decree that Defendants violated California

     16   Labor Code sections 201, 202, and 203 by willfully failing to pay all compensation owed at the

     17   time of termination of the employment of Plaintiff and other class members (but not all) no

     18   longer employed by Defendants;
     19            30.   For all actual, consequential, and incidental losses and damages, according to

     20   proof;

     21            31.   For statutory wage penalties pursuant to California Labor Code section 203 for

     22   the other class members who have left Defendants' employ;
     23            32.   For pre-judgment interest on any unpaid compensation from the date such
     24   amounts were due; and
     25            33.   For such other and further relief as the court may deem just and proper.

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      1                                  As to the Sixth Cause of Action

      2          34.    That the Court declare, adjudge and decree that Defendants violated the record
      3   keeping provisions of California Labor Code section 226(a) and applicable IWC Wage Orders
      4   as to Plaintiff and other class members (but not all), and willfully failed to provide accurate

      5   itemized wage statements thereto;

      6          35.    For actual, consequential and incidental losses and damages, according to proof;

      7          36.    For statutory penalties pursuant to California Labor Code section 226( e);

      8          37.    For injunctive relief to ensure compliance with this section, pursuant to

      9   California Labor Code section 226(g); and

     10          38.    For such other and further relief as the court may deem just and proper.

     11                                 As to the Seventh Cause of Action

     12          39.    That the Court declare, adjudge and decree that Defendants violated California

     13   Labor Code sections 2800 and 2802 by willfully failing to reimburse Plaintiff and other class

     14   members (but not all) for all necessary business-related expenses as required by California

     15   Labor Code sections 2800 and 2802;

     16          40.    For actual, consequential and incidental losses and damages, according to proof;

     17          41.    For the imposition of civil penalties and/or statutory penalties;
     18          42.    For punitive damages and/or exemplary damages according to proof at trial;

     19          43.    For reasonable attorneys' fees and costs of suit incurred herein; and

     20          44.    For such other and further relief as the court may deem just and proper.

     21                                 As to the Eighth Cause of Action

     22          45.    That the Court declare, adjudge and decree that Defendants violated California

     23   Business and Professions Code section 17200, .et seq. by failing to provide Plaintiff and other

     24   class members all overtime compensation due to them, failing to provide all meal and rest

     25   periods to Plaintiff and the other class members, failing to pay at least minimum wages to
     26   Plaintiff and the other class members, failing to pay Plaintiffs and other class members' wages

     27   timely as required by California Labor Code section 201,202.

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      1              46.   For restitution of unpaid wages to Plaintiff and other class members and all pre-

      2   judgment interest from the day such amounts were due and payable;

      3              47.   For the appointment of a receiver to receive, manage and distribute any and all

     4    funds disgorged from Defendants and determined to have been wrongfully acquired by

      5   Defendants as a result of violation of California Business and Professions Code section 17200,

      6   et seq.;

      7              48.   For reasonable attorneys' fees and costs of suit incurred herein pursuant to

      8   California Code of Civil Procedure section 1021.5;

      9              49.   For injunctive relief to ensure compliance with this section, pursuant to

     10   California Business and Professions Code section 17200, et seq.; and

     11              50.   For such qither and further relief as the court may deem just and proper.

     12

     13   Dated: January 11, 2023                       JUSTICE LAW CORPORATION

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     16
                                                         By:~~-~-J_ ·-
                                                                Douglas Han
     17                                                         Shunt Tatavos-Gharajeh
                                                                William Wilkinson
     18                                                         Attorneys.for Plaintiff

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